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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 LEMAIRE ILLUMINATION
 TECHNOLOGIES, LLC,

                    Plaintiff,

 v.                                                      Case No. 2:18-cv-00021-JRG

 HTC CORPORATION,                                        JURY TRIAL DEMANDED

                    Defendant.


                  HTC CORPORATION’S ANSWER AND DEFENSES TO
                  LEMAIRE ILLUMINATION TECHNOLOGIES, LLC’S
                     COMPLAINT FOR PATENT INFRINGEMENT

        Defendant HTC Corporation (“Defendant” or “HTC”), by and through its undersigned

counsel, hereby responds to Lemaire Illumination Technologies, LLC’s (“Plaintiff” or “Lemaire

Illumination” or “Lemaire”) Complaint for Patent Infringement (“Complaint”). Except as

expressly admitted herein, HTC denies all allegations of the Complaint.

                                        INTRODUCTION

        1.     HTC admits that (i) U.S. Patent No. 6,095,661 (the “’661 patent”) states on its

face that it was issued on August 1, 2000 and states on its face that it is titled “Method and

Apparatus for an L.E.D. Flashlight,” (ii) U.S. Patent No. 6,488,390 (the “’390 patent”) states on

its face that it was issued December 3, 2002 and states on its face that it is titled “Color-Adjusted

Camera Light and Method,” and (iii) U.S. Patent No. 9,119,266 (the “’266 patent”) states on its

face that it was issued August 28, 2015 and states on its face that it is titled “Pulsed L.E.D.

Illumination Apparatus and Method.” HTC lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations contained in Paragraph 1, and therefore denies

them.
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       2.      Denied.

                                         THE PARTIES

       3.      HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 3, and therefore denies them.

       4.      HTC admits that it is a Taiwanese corporation. HTC denies the remaining

allegations of paragraph 4.

                                 JURISDICTION AND VENUE

       5.      HTC admits that the Complaint purports to bring an action for infringement

arising under 35 USC §§ 271(a)-(c) and 281-285, but HTC denies it infringes any valid patent

claim of the ’661, ’390, and ’266 patents.

       6.      HTC admits that this Court has subject matter jurisdiction under 28 U.S.C. §§

1331 and 1338(a).

       7.      HTC denies that this Court has personal jurisdiction over HTC. HTC is a

Taiwanese corporation with its principal place of business in New Taipei City, Taiwan. HTC

develops, tests, manufactures, and sells the accused products in Taiwan. HTC does not conduct

any of these activities in the Eastern District of Texas. HTC does not have facilities or retail

stores in the Eastern District of Texas, nor does HTC have employees in the Eastern District of

Texas who are involved in the development or testing of the accused devices. HTC’s relevant

engineering, marketing, or finance records are not in the Eastern District of Texas. HTC denies

the remaining allegations of Paragraph 7.

       8.      Denied.

       9.      HTC denies that venue is proper in this district. HTC denies that this district is a

convenient forum for this case and denies committing any acts of infringement in this forum.




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                                     FACTUAL BACKGROUND

   A. Inventor Charles A. Lemaire

       10.     HTC restates its answers in response to each of Lemaire’s incorporated

allegations.

       11.     HTC admits that Charles Lemaire is listed as an inventor on the face of

the ’661, ’390, and ’266 patents. HTC lacks knowledge or information sufficient to form a belief

as to the truth of the remaining allegations contained in Paragraph 11, and therefore denies them.

       12.     HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 12, and therefore denies them.

       13.     HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 13, and therefore denies them.

       14.     HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 14, and therefore denies them.

       15.     HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 15, and therefore denies them.

       16.     HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 16, and therefore denies them.

   B. Mr. Lemaire’s Inventions related to LEDs

       17.     HTC restates its answers in response to each of Lemaire’s incorporated

allegations.

       18.     HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 18, and therefore denies them.




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       19.     HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 19, and therefore denies them.

       20.     HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 20, and therefore denies them.

       21.     HTC admits that the ’661 patent states on its face that U.S. App. No. 09/044559

was filed on March 19, 1998. HTC denies that this application was “duly and legally issued.”

HTC denies the remaining allegations contained in Paragraph 21.

       22.     HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in paragraph 22, and therefore denies them.

       23.     HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 23, and therefore denies them.

   C. Lemaire Illumination

       24.     HTC restates its answers in response to each of Lemaire’s incorporated

allegations.

       25.     HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 25, and therefore denies them.

       26.     HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 26, and therefore denies them.

       27.     HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 27, and therefore denies them.

   D. Lemaire Illumination Patents

       28.     HTC restates its answers in response to each of Lemaire’s incorporated

allegations.




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       29.     HTC admits that Mr. Lemaire is a listed inventor on the face of the ’661, ’390,

and ’266 patents. HTC denies that the USPTO “recognized the contributions of Mr. Lemaire.”

       30.     HTC admits that the ’661 patent states on its face that it was issued on August 1,

2000 and is titled “Method and Apparatus for an L.E.D. Flashlight.” HTC lacks knowledge or

information sufficient to form belief as to the truth of the remaining allegations contained in

Paragraph 30, and therefore denies them.

       31.     HTC admits that the ’390 patent states on its face that it was issued on December

3, 2002 and is titled “Color-Adjusted Camera Light and Method.” HTC lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations contained in

Paragraph 31, and therefore denies them.

       32.     HTC admits that the ’266 patent states on its face that it was issued on August 25,

2015 and is titled “Pulsed L.E.D. Illumination Apparatus and Method.” HTC lacks knowledge

or information sufficient to form a belief as to the truth of the remaining allegations contained in

Paragraph 32, and therefore denies them.

       33.     HTC admits that it became aware of the ’661, ’390, and ’266 patents after

Lemaire filed its complaint. HTC denies that it was “well aware” of the ’661, ’390, and ’266

patents. HTC further denies it was aware of the ’661, ’390, and ’266 patents at any time prior to

when Lemaire filed its complaint.

   E. Conduct by Defendant

      i. The HTC One M8 Smartphone Device

       34.     HTC restates its answers in response to each of Lemaire’s incorporated

allegations.




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       35.     HTC admits that, on or around March 25, 2014, it unveiled the HTC One M8

Smartphone device.

       36.     Denied.

       37.     Denied.

       38.     Denied.

       39.     Denied.

      ii. The HTC One M9 Smartphone Device

       40.     HTC restates its answers in response to each of Lemaire’s incorporated

allegations.

       41.     HTC admits that, on or around March 1, 2015, it unveiled the HTC One M9

Smartphone device.

       42.     Denied.

       43.     Denied.

       44.     Denied.

       45.     Denied.

      iii. The HTC 10 Smartphone Device

       46.     HTC restates its answers in response to each of Lemaire’s incorporated

allegations.

       47.     HTC admits that, on or around April 12, 2016, it unveiled the HTC 10

Smartphone device.

       48.     Denied.

       49.     Denied.

       50.     Denied.




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       51.     Denied.

      iv. The HTC Desire Eye Smartphone Device

       52.     HTC restates its answers in response to each of Lemaire’s incorporated

allegations.

       53.     HTC admits that, on or around October 8, 2014, it unveiled the HTC Desire Eye

Smartphone device.

       54.     Denied.

       55.     Denied.

       56.     Denied.

       57.     Denied.

       58.     Denied.

       59.     Denied.

      v. The HTC U Ultra Smartphone Device

       60.     HTC restates its answers in response to each of Lemaire’s incorporated

allegations.

       61.     HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 61, and therefore denies them.

       62.     Denied.

       63.     Denied.

       64.     Denied.

       65.     Denied.




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                                             COUNT I

               INFRINGEMENT OF UNITED STATES PATENT NO. 6,095,661

       66.      HTC restates its answers in response to each of Lemaire’s incorporated

allegations.

       67.      HTC admits the ’661 patent states on its face that it has an issue date of August 1,

2000. HTC admits that the ’661 patent states on its face that it is titled “Method and Apparatus

for an L.E.D. Flashlight.” HTC denies that the ’661 patent was “duly and legally issued.”

       68.      HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 68, and therefore denies them.

       69.      HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 69, and therefore denies them.

       70.      Denied.

       71.      Denied.

       72.      Denied.

       73.      Denied.

       74.      Denied.

       75.      Denied.

       76.      Denied.

       77.      Denied.

       78.      Denied.

       79.      Denied.

       80.      Denied.




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                                            COUNT II

               INFRINGEMENT OF UNITED STATES PATENT NO. 6,488,390

       81.      HTC restates its answers in response to each of Lemaire’s incorporated

allegations.

       82.      HTC admits the ’390 patent states on its face that it has an issue date of December

3, 2002. HTC admits that the ’661 patent states on its face that it is titled “Color-Adjusted

Camera Light and Method.” HTC denies that the ’390 patent was “duly and legally issued.”

       83.      HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 83, and therefore denies them.

       84.      HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 84, and therefore denies them.

       85.      Denied.

       86.      Denied.

       87.      Denied.

       88.      Denied.

       89.      Denied.

       90.      Denied.

       91.      Denied.

       92.      Denied.

       93.      Denied.

       94.      Denied.

       95.      Denied.




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                                            COUNT III

               INFRINGEMENT OF UNITED STATES PATENT NO. 9,119,266

       96.      HTC restates its answers in response to each of Lemaire’s incorporated

allegations.

       97.      HTC admits that the ’266 patent states on its face that it has an issue date of

August 25, 2015. HTC admits that the ’266 patent states on its face that it is titled “Pulsed

L.E.D. Illumination Apparatus and Method.” HTC denies that the ’266 patent was “duly and

legally issued.”

       98.      HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 98, and therefore denies them.

       99.      HTC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 99, and therefore denies them.

       100.     Denied.

       101.     Denied.

       102.     Denied.

       103.     Denied.

       104.     Denied.

       105.     Denied.

       106.     Denied.

       107.     Denied.

       108.     Denied.

       109.     Denied.

       110.     Denied.




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                                     EXCEPTIONAL CASE

        111.    HTC restates its answers in response to each of Lemaire’s incorporated

allegations.

        112.    Denied.

        113.    Denied.

        114.    Denied.

                                 DEMAND FOR JURY TRIAL

        115.    No response is required to Lemaire Illumination’s demand for a trial by jury, but

HTC hereby demands a trial by jury on all issues so triable, including without limitation, HTC’s

defenses.

                                    PRAYER FOR RELIEF

       116.     HTC denies that Lemaire Illumination is entitled to any relief.

                                       HTC’S DEFENSES

        A.      HTC incorporates by reference the foregoing paragraphs in their entirety and

asserts the following affirmative and other defenses. By asserting these defenses, HTC does not

admit that it bears the burden of proof on any issue and does not accept any burden it would not

otherwise bear. HTC reserves all other defenses pursuant to Rule 8(c) of the Federal Rules of

Civil Procedure, the Patent Laws of the United States, and any other defenses, at law or in

equity, that now exist or in the future may be available based on discovery and further factual

investigation in this case.

                              FIRST AFFIRMATIVE DEFENSE

        B.      The Complaint was filed in the improper venue and should thus be dismissed or

transferred.




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                             SECOND AFFIRMATIVE DEFENSE

       C.      HTC does not and has not infringed (not directly, indirectly, contributorily, by

inducement, willfully, jointly, or otherwise) any valid and enforceable claim of the ’661, ’390,

and ’266 patents, either literally or under the doctrine of equivalents.

                              THIRD AFFIRMATIVE DEFENSE

       D.      Each of the claims of the ’661, ’390, and ’266 patents are invalid for failing to

comply with one or more requirements of the Patent Laws of the United States, including but not

limited to 35 U.S.C. §§ 102, 103, and 112.

                             FOURTH AFFIRMATIVE DEFENSE

       E.      Each of the claims of the ’661, ’390, and ’266 patents fail to comply with 35

U.S.C. § 101 because each asserted claim is directed towards patent-ineligible subject matter

such as abstract ideas without any inventive concept to transform the abstract ideas into patent

eligible subject matter.

                              FIFTH AFFIRMATIVE DEFENSE

       F.      By reason of the prior art and/or statements and representations made to and by

the U.S. Patent and Trademark Office during prosecution of the applications that led to the

issuance of the ’661, ’390, and ’266 patents and any related applications, the ’661, ’390,

and ’266 patents are so limited that none of the claims of the ’661, ’390, and ’266 patents could

be properly construed to cover any activity of HTC.

                              SIXTH AFFIRMATIVE DEFENSE

       G.      Lemaire’s claim for damages is limited by 35 U.S.C. §§ 286 and/or 287.




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                              SEVENTH AFFIRMATIVE DEFENSE

        H.        Lemaire’s claims are barred, in whole or in part, by the equitable doctrines of

estoppel and/or patent exhaustion.

                               EIGHTH AFFIRMATIVE DEFENSE

        I.        Lemaire’s complaint fails to state claims upon which relief can be granted.

                                   RESERVATION OF RIGHTS

        HTC reserves the right to amend should it learn of additional information or defenses.

                                       PRAYER FOR RELIEF

        WHEREFORE, HTC requests the Court to enter judgment in its favor and grant the

following relief:

        A.        Judgment declaring that HTC has not infringed and does not infringe any claim of

the ’661 patent, either directly or indirectly, individually or jointly, literally or under the doctrine

of equivalents;

        B.        Judgment declaring that the’661 patent’s claims are invalid;

        C.        Judgment declaring that HTC has not infringed and does not infringe any claim of

the ’390 patent, either directly or indirectly, individually or jointly, literally or under the doctrine

of equivalents;

        D.        Judgment declaring that the ’390 patent’s claims are invalid;

        E.        Judgment declaring that HTC has not infringed and does not infringe any claim of

the ’266 patent, either directly or indirectly, individually or jointly, literally or under the doctrine

of equivalents;

        F.        Judgment declaring that the ’266 patent’s claims are invalid;




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        G.        Judgment that HTC is not liable for the relief sought in the Complaint with

respect to Lemaire Illumination’s patent infringement allegations, denying Lemaire Illumination

all such relief, and dismissing Lemaire Illumination’s claims with prejudice;

        H.        Judgment declaring this case exceptional under 35 U.S.C. § 285 and that HTC is

entitled to recover its reasonable fees, expenses, and costs incurred in connection with this

litigation; and

        I.        Any such other and further relief as the Court deems equitable and just.

                                       DEMAND FOR JURY

        HTC hereby demands a trial by jury on all issues so triable.




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 Dated: May 31, 2018                                /s/ Matthew C. Bernstein
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                                                      Attorneys for HTC Corp.



                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document has been served on May 31, 2018, to all counsel of record who are deemed to have
consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).



                                                     /s/ Matthew C. Bernstein
                                                         Matthew C. Bernstein




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